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 8
                              UNITED STATES DISTRICT COURT
 9
                              EASTERN DISTRICT OF CALIFORNIA
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11   BRIAN FISHER,                                      )   Case No. 2:09-CV-02843-FCD-GGH
                                                        )
12                      Plaintiff,                      )
                                                        )   ORDER GRANTING JOINT
13         vs.                                          )   STIPULATION AND MOTION TO
                                                        )   DISMISS ENTIRE ACTION WITH
14   NCO FINANCIAL SYSTEMS, INC.,                       )   PREJUDICE
                                                        )
15                                                      )
                        Defendant.                      )
16                                                      )
                                                        )
17                                                      )
                                                        )
18

19         Based on the Joint Stipulation and Motion to Dismiss Entire Action, with
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     Prejudice filed in this action, the above-captioned action is hereby dismissed with
21
     prejudice.
22

23

24
     IT IS SO ORDERED.
25

26   Dated: January 4, 2010
27                                                            ________________________________
                                                              FRANK C. DAMRELL, JR.
28                                                            UNITED STATES DISTRICT JUDGE

                        Order Granting Joint Request and Motion for Dismissal with Prejudice
                                                         1
